        Case 1:19-cv-04074-VEC Document 151 Filed 12/21/20 Page 1 of 2




                       THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK




DONALD BERDEAUX and CHRISTINE
GRABLIS, Individually and on Behalf of All
Others Similarly Situated,

                              Plaintiffs,               Case No.: 1:19-cv-04074 (VEC)

                        v.
                                                      NOTICE OF MOTION
ONECOIN LTD.; RUJA IGNATOVA,                          TO DISMISS THE SECOND
SEBASTIAN GREENWOOD; MARK SCOTT;                      AMENDED COMPLAINT
DAVID PIKE; NICOLE J. HUESMANN;                       PURSUANT TO FED. R. CIV. PROC.
GILBERT ARMENTA; AND THE BANK OF                      12 (B) (2) and 12(B)(6)
NEW YORK MELLON CORPORATION


                              Defendants.




       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Motion to Dismiss, the undersigned will move this Court, before the Honorable Valarie

Caproni, United States District Judge for the Southern District of New York, at the United States

Courthouse, 40 Foley Square New York, NY 10007, at a date and time to be determined by the

Court, for an order dismissing the Plaintiffs’ Second Amended Complaint in this action, pursuant

to Rules 12(b)(2) and 12(b)(6) of the Federal Rules of Civil Procedure and for such further and

other relief as the Court may deem just and proper.




                                                1
        Case 1:19-cv-04074-VEC Document 151 Filed 12/21/20 Page 2 of 2




                                                            Respectfully submitted,

                                                            RASKIN & RASKIN, P.A.
                                                            201 Alhambra Circle
                                                            Suite 1050
                                                            Coral Gables, Fl. 33134
                                                            Telephone: (305) 444-3400

                                                             /s/ Martin R. Raskin ____
                                                             Martin R. Raskin, Esq.
                                                             Florida Bar No. 315206


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 21, 2020, I electronically filed the foregoing

document with the Clerk of Court using CM/ECF.

                                                            /s/ Martin R. Raskin____
                                                            MARTIN R. RASKIN




                                                 2
